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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                                   CRIMINAL NO. 5:08cr20DCB-LRA

MAE REE MCMILLIAN

                                     ORDER OF DISMISSAL

        Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court

endorsed herein, the United States Attorney for the Southern District of Mississippi hereby

dismisses the Criminal Indictment against the defendant, MAE REE MCMILLIAN, without

prejudice.


                                                      DUNN LAMPTON
                                                      United States Attorney


Date: December 22, 2008                              s/Mary Helen Wall
                                              By:     MARY HELEN WALL
                                                      Assistant U.S. Attorney
                                                      Mississippi Bar No. 100857


        Leave of Court is granted for the filing of the foregoing dismissal.

        ORDERED this       29th    day of    December             , 2008.



                                                        s/ David Bramlette
                                                      UNITED STATES DISTRICT JUDGE
